
47 So.3d 934 (2010)
Jerrold WINGATE and The Wingate Law Firm, Appellants,
v.
CELEBRITY CRUISES, et al., Appellees.
No. 3D09-1241.
District Court of Appeal of Florida, Third District.
November 10, 2010.
Conroy, Simberg, Ganon, Krevans, Abel, Lurvey, Morrow &amp; Schefer and Hinda Klein, Hollywood, for appellant.
Mase, Lara, Eversole and Curtis J. Mase, Valentina M. Tejera, and Leah H. Martinez, Miami, for appellees.
Before RAMIREZ, C.J., and ROTHENBERG, J., and SCHWARTZ, Senior Judge.
PER CURIAM.
The appellants, Jerrold Wingate and The Wingate Law Firm, appeal from an Order of Contempt, finding them in contempt for willfully disobeying the lower tribunal's prior court order and knowingly receiving money in violation of that order. Following our review of the order, we agree with the appellants that the Order of Contempt contains a mathematical error, and therefore, remand with directions to enter an amended order, reflecting that appellants must repay $219,653.07, not $333,727.74. In all other respects, we affirm, finding that the appellants' remaining argument lacks merit.
Affirmed; remanded with directions.
